                                                                     (SPACE BELOW FOR FILING STAMP ONLY)
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 1           MARK W. COLEMAN, #117306
            NUTTALL COLEMAN & WILSON
 2               2445 CAPITOL STREET, SUITE 150
                     FRESNO, CALIFORNIA 93721
 3                     PHONE (559) 233-2900
                         FAX (559) 485-3852
 4
 5         ATTORNEYS FOR Defendant,
                           JUANITA MUNOZ
 6
 7
                                     UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9
                                                  ********
10
      UNITED STATES OF AMERICA,                          Case No.:       CR-09-00076 AWI
11                                                                       CR-09-00077 AWI
                       Plaintiff,
12
                                                               STIPULATION TO CONTINUE
13             vs.                                                   SENTENCING
                                                                         AND
14                                                                     ORDER
      JUANITA MUNOZ, et al.,
15
                       Defendants.
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     TO:      THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S OFFICE
18            and/or ITS REPRESENTATIVES:
19            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
20   clients that the Sentencing hearing currently on calendar for March 19, 2012, at 9:00 a.m., be
21   continued to April 30, 2012, at 9:00 a.m., or as soon thereafter as is convenient to the court’s
22   calendar.
23            IT IS FURTHER STIPULATED that the deadlines for filing informal and formal
24   objections to the Pre-Sentence Investigation Report be scheduled as follows:
25                     Report available from Probation on or before March 26, 2012
26                     Informal Objections to be served on or before April 6, 2012
27                     Formal Objections to be filed on or before April 23, 2012
28   ///
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 1           This continuance is requested by counsel for Defendant, JUANITA MUNOZ, due to the fact
 2   that counsel and the probation officer need additional time to interview Defendant. Specifically, due
 3   to the fact that the Defendant is housed at Lerdo, it is difficult to find a mutual convenient time for
 4   a probation interview. An interview was scheduled for January 30, 2012, however counsel had to
 5   cancel the meeting due the possibility of counsel being out of state on that day.
 6           Additionally, counsel needs additional time in order to retain a financial expert to determine
 7   restitution.
 8           Counsel for Defendant has spoken with Assistant U. S. Attorney, MARK CULLERS, who
 9   has no objection to this continuance.
10   Dated: January 31, 2012                 Respectfully Submitted,
11                                           NUTTALL COLEMAN & WILSON
12                                           /s/ Mark W. Coleman
13
                                             MARK W. COLEMAN
14                                           Attorney for Defendant,
                                             JUANITA MUNOZ
15
     Dated: January 31, 2012.                UNITED STATES ATTORNEY’S OFFICE
16
                                             /s/ Mark Cullers
17
18                                           MARK CULLERS
                                             Assistant U.S. Attorney
19
20                                               *******
21                                                ORDER
22   IT IS SO ORDERED.
23
     Dated:             February 1, 2012
24   0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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